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 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 HEIKO P. COPPOLA
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                             CASE NO. 2:20-CR-00134 JAM
11
                                   Plaintiff,              AMENDED ORDER SEALING DOCUMENTS AS
12                                                         SET FORTH IN GOVERNMENT’S NOTICE
                             v.
13
     TANG JUAN,
14   (a.k.a Juan Tang)

15                                 Defendant.

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17
            Pursuant to Local Rule 141(b) and based upon the representation contained in the government’s
18
     Request to Seal, IT IS HEREBY ORDERED that the government’s document in support of its motion in
19
     limine pertaining to defendant Tang Juan and government’s Request to Seal shall be SEALED until
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     further order of this Court. The government shall file a redacted version of its document in support of its
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     motion in limine on the Court’s public docket.
22
            It is further ordered that access to the sealed documents shall be limited to the government and
23
     counsel for the defendant.
24
            The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
25
     for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in
26
     the government’s request, sealing the government’s motion serves a compelling interest. The Court
27
     further finds that, in the absence of closure, the compelling interests identified by the
28


      ORDER SEALING DOCUMENTS AS SET FORTH IN              1
      GOVERNMENT’S NOTICE
             Case 2:20-cr-00134-JAM Document 205 Filed 07/20/21 Page 2 of 2

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 2 government would be harmed. In light of the public filing of its request to seal, the Court further finds

 3 that there are no additional alternatives to sealing the government’s motion that would adequately

 4 protect the compelling interests identified by the government.

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 6    Dated: July 19, 2021                            /s/ John A. Mendez
 7                                                    THE HONORABLE JOHN A. MENDEZ
                                                      UNITED STATES DISTRICT COURT JUDGE
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      ORDER SEALING DOCUMENTS AS SET FORTH IN           2
      GOVERNMENT’S NOTICE
